                       JN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLiNA
                                 EASTERN DIVISION
                                  No. 4:11-CR-45-D-1


UNITED STATES OF AMERICA,                      )
                                               )
                   v.                          )               ORDER
                                               )
JAMES CALVIN EBRON,                            )
                                               )
                           Defendant.          )


       On July 16, 2020, James Calvin Ebron ("Ebron'') moved pm se for compassionate release

undertheFirstStepAct(''FirstStepAct''}, Pub. L. No. 115-391, § 603{b}, 132 Stat. 5194, 523~1

(2018) (codified as amended at 18 U.S.C. § 3582) [D.E. 74]. On August 14, 2020, Ebron through

counsel :filed memorandum in support [D.E. 77]. On August 27, 2020, the United States responded

in opposition [D.E. 80]. As explained below, the court denies Ebron's motion.

       On January 25, 2012, pursuant to a written plea agreement, Ebron pleaded guilty to

conspiracy to distribute and possess with the intent to distribute one kilogram or more of heroin, a

quantity of marijuana, and a quantity of ecstasy. See [D.E. 26]. On July 25, 2012, the court held

Ebron's sentencing hearing. See [D.E. 40]. At the hearing, the court adopted the facts set forth in

the Presentence Investigation Report ("PSR"). See [D.E. 41 ]; Fed. R. Crim. P. 32(i)(3)(A}-(B). The

court calculated Ebron' s total offense level to be 34, his criminal history category to be VI, and his

advisory guideline range to be 262 to 327 months' imprisonment. See [D.E. 41 ]. After considering

all relevant factors under 18 U.S.C. § 3553(a), the court sentenced Ebron to 288 months'

imprisonment. See id.; [D.E. 40]. On August 1, 2012, Ebron appealed. See [D.E. 42] On March

20, 2013, the Fourth Circuit affirmed Ebron's conviction and dismissed Ebron's appeal of his




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sentence. See United States v. Ebron, 514 F. App'x 358, 359 (4th Cir. 2013) (per curiam)

(unpublished); [D.E. 50, 51].

          On June 20, 2014, Ebron moved to vacate his sentence under 28 U.S.C. § 2255. See [D.E.

53]. On December 3, 2014, the court dismissed Ebron's motion. See [D.E. 64, 65]. Ebron did not

appeal.

          On April 22, 2015, Ebron moved to reduce his sentence under 18 U.S.C. § 3582(c)(2}, 28

U.S.C. § 1331, and U.S.S.G. Amendment 782. See [D.E. 66]. Ebron filed an amended motion on

May 11, 2015. See [D.E. 72]. On June 2, 2015, the courtdeniedEbron's motion to reduce sentence.

See [D.E. 73]. Ebron did not appeal.

          On December 21, 2018, the First Step Act went into effect. See First Step Act, Pub. L. No.

115-391, 132 Stat. 5194, 5249 (2018). Before the First Step Act, only the Director of the Bureau of

Prisons ("BOP") could file a motion for compassionate release. Under the First Step Act, a

sentencing court may modify a sentence of imprisonment either upon a motion ofthe Director ofthe

BOP "or upon motion of the defendant after the defendant has fully exhausted all administrative

rights to appeal a failure of the [BOP] to bring a motion on the defendant's behalf or the lapse of 30

days from the receipt of such a request by the warden of the defendant's facility, whichever is

earlier." 18 U.S.C. § 3582(c)(l)(A).

          After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinacy and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the comm.unity. Id..In deciding to reduce a sentence

under section3582(c)(l)(A), acourtmustconsultthe sentencing factors in 18 U.S.C. § 3553(a) and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

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States Sentencing Commission ("Commission"). Id.

       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

restates section 3582(c)(l)(A)'s requirem~ts and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

application notes provide examples of extraordinary and compelling reasons, including (A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U.S.S.G. § lBl.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances-set forth below:

               (A) Medical Condition of the Defendant.-           ·

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                      (ii) The defendant is-·

                             (I) suffering from a serious physical or medical condition,

                            (II) suffering from a serious functional or cognitive impairment,
                                  or

                            (Ill) experiencing deteriorating physical or mental health because
                                  of the aging process,

                            that substantially diminishes the ability of the defendant to

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 that "an extraordinary and compelling reason need not have been unforeseen at the time of

 sentencing in order to warrant a reduction in the term of imprisonment." U.S.S.G. § lBl.13 cmt.

 n.2. Thus, the fact ''that an extraordinary and compelling reason reasonably could have been known

 or anticipated by the sentencing court does not preclude consideration for a reduction under this

 policy statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation

 of the defendant is not, by itself: an extraordinary and compelling reason for purposes of this policy

 statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

· updated U.S.S.G. § lBl.13 to account for the First Step Act. Accordingly, section lBl.13 does not

 provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §



                          . provide self-care within the environment ofa correctional facility
                            and from which he or she is not expected to recover.

                (B) Age of the Defendant.-.The defendant (i) is at least 65 years old; (ii)
                      is experiencing a serious deterioration in physical or mental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                (C) Family Circumstances.-

                     Ci) The death or incapacitation ofthe caregiver ofthe defendant's minor
                         child or minor children.

                     (ii) The incapacitation of the defendant's spouse or registered partner
                         when the defendant would be the only available caregiver for the
                         spouse or registered partner.

                (D) Other Reasons.-As determined by the Director of the Bureau of
                      Prisons, there exists ·in the defendant's case an extraordinary and
                      compelling reason other than, or in combination with, the reasons
                      described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1.

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3582(c)(1 )(A). Nevertheless, section lB 1.13 provides applicable policy when assessing an inmate's

motion, but a court independently determines whether "extraordinary and compelling reasons"

warrant a sentence reduction under 18 U.S.C; § 3582(c)(l)(A)(i). See, e.g., United States v. Clark,

No. 1:09-cr-336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020) (unpublished). In doing so,

the court consults not only U.S.S.G. § 1B1J3, but also the text of 18 U.S.C. § 3582(c)(l)(A) and

the section 3553(a) factors. See, e.g., id.; Dinning v. United States, No. 2:12-cr-84, 2020 WL

1889361, at *2 (E.D. Va. Apr. 16, 2020) (unpublished).

        Ebron is age 56 and seeks compassionate release pursuant to section 3582(c)(1 )(A)(i). Ebron

reliesonthe"otherreasons"policystatementinapplicationnote l(D)to U.S.S.G. § lBl.13 andcites

the COVID-19 pandemic and his asthma and high cholesterol. See [D.E. 74] 3.

        The court assumes without deciding that Ebron has exhausted his administrative remedies

under 18 U.S.C. § 3582(c)(l)(A). See [D.E. 74] 2-3; [D.E. 74-1] 1-2. Moreover, the government

has not invoked section 3582's exhaustion requirements. See United States v. Al~ 960 F.3d 831,

833-34 (6th Cir. 2020).2 Accordingly, the court addresses Ebron's claims on the merits.

        As for the "other reasons" policy statement, the court assumes without deciding that Ebron' s

asthma and high cholesterol coupled with the COVID-19 pandemic are extraordinary circumstances

consistent with application note l(D). Cf. United States v. Rai~ 954 F.3d 594, 597 (3d Cir. 2020)

("[T]he mere existence of COVID-19 in society and the possibility that it may spread to a particular

prison alone cannot independently justify compassionate release, especially considering BOP' s

statutory role, and its extensive and professional efforts to curtail the virus's spread.''). Even so, the


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          The Fourth Circuit has not addressed whether section 3582's exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule; and that the government must "properly invoke" the rule
for this court to enforce it. See~ 960 F.3d at 833-34.

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section 3553(a) factors counsel against reducing Ebron' s sentence. See United States v. Chambliss,

948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140, at *3-8. Ebron was a high-volume

drug dealer between 2000 and 2009, purchasing and distributing 1 kilogram ofheroin, 19 kilograms

of marijuana, and 525 grams of ecstasy. See PSR [D.E. 38]           1 12.   Moreover, Ebron has a

breathtaking crimjnal history, having been convicted 44 times ·since 1982. See id. at W 14-40.

Ebron' s record demonstrates a history ofviolence, including multiple convictions for simple assault,

assault on a female, and resisting or obstructing a police officer, and a history of drug dealing. See

id. Ebron repeatedly has performed poorly on supervision. See id. Nonetheless, Ebron has taken

some positive steps while incarcerated. See [D.E. 77] 6-7; [D.E. 77-2]; cf. Pepperv. United States,

562 U.S. 476, 480 (2011). Having considered the entire record, Ebron's medical conditions, the

steps that the BOP has taken to address COVID-19 and to treat Ebron, the section 3553(a) factors,

Ebron' s arguments, and the need to punish Ebron for his criminal behavior, to incapacitate Ebron,

to promote respect for the law, to deter others, and to protect society, the court declines to grant

Ebron's motion for compassionate release.

       In sum, the court DENIES Ebron's motions for compassionate release [D.E. 74, 77].

       SO ORDERED. This _k_ day ofNovember 2020.



                                                           .Ts c. DEVER m
                                                           United States District Judge




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